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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES -- GENERAL


Case No.     EDCV 19-1103-MWF(KKx)                                    Dated: December 1, 2021

Title:       Friends of Riverside Airport, LLC -v- Department of the Army, et al.

PRESENT: HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

             Rita Sanchez                                   Not Reported
             Courtroom Deputy                               Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                  ATTORNEYS PRESENT FOR DEFENDANTS:

             Not Present                                    Not Present

PROCEEDINGS (IN CHAMBERS):                     COURT ORDER

       In light of the Notice of Settlement [282] filed November 22, 2021, the Court sets a
hearing on Order To Show Cause Re Dismissal for January 10, 2022 at 11:30 a.m. If a
stipulated dismissal is filed prior to this date, the matter will be taken off calendar and no
appearance is needed. All other hearings and deadlines are hereby vacated.

         IT IS SO ORDERED.




                                                                             Initials of Deputy Clerk rs
